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IN THE UNITED sTATEs DISTRICT coURT 'F“-ED BY ~%i- °"-"'
FOR THE wESTERN DISTRICT OF TENNESSEE

 

wEsTERN DIVISION 05 AUG 23 AH 6= 53
X ' NOMESM,GOUD
MARINO coRTEz GREEN, X CLERKU.S D:EUQQTCOURT
X WFD f"F ?,€i¢;.-§PH}S
Plaintiff, X
)(
vs. )( No. 03-2043-D/P
X
REGIONAL MEDICAL cENTER, x
X
Defendant. X
X

 

ORDER DENYING IRREGULAR MOTION FOR DISCOVERY

 

On September 22, 2004, plaintiff, Marino Green filed an
irregular motion for discovery. (Docket entry 25) Plaintiff's
motion is not accompanied by a certificate of consultation, as
required by Local Rule 7.2(a)(1)(B). That rule further provides
that “[f]ailure to file an accompanying certificate of consultation
may be deemed good grounds for denying the motion.” Accordingly,

the motion is DENIED.

IT IS SO ORDERED this §2£: day of August, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:03-CV-02043 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

